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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   ALLEN SMITH,
       Petitioner,
                                                       Criminal Action No. ELH-08-0086
       v.                                              Related Civil No. ELH-12-3113

   UNITED STATES OF AMERICA,
       Respondent.

                                      MEMORANDUM

       This Memorandum addresses Allen Smith’s pending Motion for Reconsideration as to

the denial of his post-conviction petition. ECF 1376 (“Motion” or “Motion to Reconsider”).1

       Smith was one of twenty-eight defendants indicted on February 8, 2008, on racketeering

and drug conspiracy charges. ECF 1. On August 14, 2009, Smith was sentenced to 151 months’

imprisonment (ECF 590), after having pled guilty on May 6, 2009, to conspiracy to participate in

a racketeering enterprise, in violation of 18 U.S.C. § 1962(d). ECF 533; ECF 534. Judgment

was entered August 17, 2009. ECF 597. On May 17, 2011, the United States Court of Appeals

for the Fourth Circuit affirmed Smith’s conviction. United States v. Smith, 640 F.3d 580 (4th

Cir. 2011); see also ECF 1183; ECF 1194. Smith filed a petition for a writ of certiorari to the

United States Supreme Court, which was denied on October 11, 2011. See Smith v. United

States, ___ U.S. ___, 132 S. Ct. 430 (2011).

       On October 22, 2012, Smith, self-represented, filed a Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF 1308), supported by a memorandum (ECF




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         Judge William D. Quarles, Jr. ruled on the Petition. The case was reassigned to me on
January 29, 2016, due to the retirement of Judge Quarles.
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1308-1) (collectively, the “Petition”).2 The government opposed the Petition (ECF 1321) and

Smith submitted a reply. ECF 1333. By Memorandum Opinion and Order dated November 5,

2013 (ECF 1370; ECF 1371), Judge Quarles denied the Petition.

       Smith filed the pending Motion on December 6, 2013. ECF 1376. The government

submitted a response in opposition on February 19, 2014. ECF 1392, “Opposition.” No reply

was filed.

       On May 23, 2014, the government also filed a Motion to Allow Disclosure of Attorney-

Client Communications and Work Product, related to the Motion to Reconsider. ECF 1401. In

that motion, it seeks to supplement its Opposition with an affidavit from Smith’s trial counsel

(id. at 2), but notes that its position remains that Smith’s Petition “was properly denied, on the

existing record, without the need for an attorney affidavit.”       Id.   Smith did not respond.

However, on June 30, 2015, Smith requested an update on the status of his Motion to

Reconsider. ECF 1456.

       In the interim, on June 12, 2015, Smith filed a Motion to Reduce Sentence (ECF 1452),

pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to the U.S. Sentencing Guidelines. The

government opposed Smith’s Motion to Reduce Sentence. ECF 1459. Judge Quarles denied that

motion by Order dated January 7, 2016. ECF 1460.


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          In this district, a § 2255 petition filed by a self-represented prisoner is deemed filed
“when it was delivered to prison authorities for forwarding by depositing it in the prison
mailbox.” United States v. Dorsey, 988 F. Supp. 917, 920 (D. Md. 1998) (discussing that “the
Fourth Circuit has consistently applied the ‘mailbox rule’ to its cases involving pro se prisoner
litigation”). Smith’s Petition was signed and dated October 17, 2012 (ECF 1308 at 13), and I
assume that is the date it was delivered to prison authorities. Accordingly, considering the
Supreme Court’s denial of certiorari on October 11, 2011, Smith’s original Petition was untimely
filed. See 28 U.S.C. 2255(f) (providing a one-year limitations period for the filing of a petition,
dating from the date of finality of the judgment). However, the government did not raise this
argument in opposing the Petition (ECF 1321), nor did Judge Quarles discuss the topic of
timeliness in his ruling. ECF 1370.

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       No hearing is necessary to resolve the Motion to Reconsider. See Local Rule 105.6. For

the reasons stated below, I shall deny Smith’s Motion.

                                  I. Procedural Background

       A review of Smith’s original Petition is useful for resolving the pending Motion.

       The Petition asserted three primary arguments to support Smith’s contention that his

conviction was improper due to ineffective assistance of counsel. ECF 1308 at 2–8. Smith

argued: (1) his counsel failed to properly investigate Smith’s alibi witnesses (id. at 3–4); (2)

counsel labored under a conflict of interest (id. at 5–6); and (3) counsel improperly failed to

challenge Smith’s career offender status at sentencing. ECF 1308 at 7–8; see also ECF 1370 at

4–5. Judge Quarles rejected these arguments, pursuant to Strickland v. Washington, 466 U.S.

668 (1984).3

       Smith had argued that two alibi witnesses would have proven his actual innocence. ECF

1308-1 at 3. Judge Quarles found that this assertion “directly contradict[ed] [Smith’s] sworn

testimony at his Rule 11 proceeding.” ECF 1370 at 6. And, because Smith had not shown that

any extraordinary circumstances existed to place his Rule 11 proceeding in question, the court

accepted “the truth of his sworn statements at his guilty plea” and disregarded Smith’s claim.

ECF 1370 at 7 (citing United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005)).

       Judge Quarles also found that Smith could not demonstrate any prejudice. Id. Along

with his Petition, Smith submitted affidavits from the witnesses he claimed would have

supported his alibi. See ECF 1308-3, Affidavit of Sean Frazier; ECF 1308-4, Affidavit of

       3
         Under Strickland, to prevail on a claim of ineffective assistance of counsel a petitioner
must first show that his attorney’s performance fell “below an objective standard of
reasonableness,” measured by “prevailing professional norms.” Strickland, 466 U.S. at 688.
Second, the petitioner must show that his attorney’s deficient performance “prejudiced [his]
defense.” Strickland, 466 U.S. at 687.


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Anthony Flemming.4 Judge Quarles found the affidavits to “refute only a small portion of the

Government’s case” against Smith. ECF 1370 at 7. Accordingly, Smith had “not shown a

reasonable probability that he would not have pled guilty but for his counsel’s failure to

investigate.” Id.

       Judge Quarles found Smith’s allegation regarding conflict of interest similarly flawed.

As summarized in the Memorandum Opinion, Smith argued that a conflict of interest existed

because his counsel entered into a discovery agreement with the government, and this agreement

“prevented counsel from investigating, challenging evidence, and having meaningful

conversations with Smith.” ECF 1370 at 8; see also ECF 1308 at 5–6, Petition. In analyzing

this contention, Judge Quarles relied on a two-part standard from United States v. Nicholson, 475

F.3d 241, 249 (4th Cir. 2007).

       Under Nicholson, to “establish that a conflict of interest resulted in ineffective assistance,

‘[m]ore than a mere possibility of a conflict . . . must be shown.’ The petitioner must show (1)

that his lawyer was under ‘an actual conflict of interest’ and (2) that this conflict ‘adversely

affected his lawyer’s performance.’” Id. at 249 (citations omitted and alterations in original).

       Applying this test, Judge Quarles determined that Smith’s conflict of interest claims were

unfounded. ECF 1370 at 9. He noted that “[e]ntering into a discovery agreement with the

Government is a common practice in this district and does not create a conflict of interest.” ECF

1370 at 9. Moreover, Judge Quarles found that Smith had not advanced a compelling argument

to suggest how the discovery agreement adversely impacted Smith’s defense. Id.

       In his Petition, Smith also averred that his counsel “failed to object to the court’s

application of the career offender provision which resulted in Smith receiving an increased

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        According to the government, “Flemming” is misspelled; the accurate spelling is
“Fleming.” ECF 1392 at 11.

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sentence.” ECF 1308 at 7–8, Petition. In particular, Smith argued that his prior arrests for two

controlled substance offenses in September 2002 were consolidated and should not have counted

as two prior convictions. ECF 1308 at 7–8, Petition.

       Judge Quarles was unpersuaded by this argument because it contradicted Smith’s

Presentence Report (“PSR”), which reflected that Smith’s two prior convictions were separate

and distinct.5   ECF 1370 at 10–11; see also Presentence Report, ¶¶ 39, 46, 50, 52 (discussing

Smith’s career offender status and relevant criminal history); Addendum to Presentence Report.

Notably, Judge Quarles also found that, “even if these two offenses counted only once, Smith has

a clearly separate conviction for a similar offense; which--with either of the other convictions--

would have been sufficient to earn Smith a career offender status.” Id. at 11.

       Based on this reasoning, Judge Quarles denied Smith’s Petition. ECF 1371, Order.

Thereafter, Smith filed the pending Motion to Reconsider. ECF 1376.

                                             II. Contentions

       Smith submits his Motion to Reconsider pursuant to Fed. R. Civ. P. 59(e) and argues that

Judge Quarles’s ruling “reflects an error of law” and that it “works manifest injustice . . . .” ECF

1376 at 6, Motion. In particular, Smith takes issue with Judge Quarles’s decision to “‘accept[]

the truth of [Smith’s] sworn statements at his guilty plea.’” Id. at 2 (citing Judge Quarles’s

Memorandum Opinion). Smith largely reasserts the arguments advanced in his Petition and

discusses several Fourth Circuit opinions to support his argument. Id. at 2–8.

       Regarding the alleged alibi witnesses, Smith avers that it “is it undisputed that counsel

failed to investigate ‘Sean Frazier’ and ‘Anthony Flemming’ prior to advising Smith to plead


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          The PSR was not docketed. However, the original report, including an addendum, is
contained in Judge Quarles’s office file. Therefore, it will be docketed under seal in conjunction
with the filing of this Memorandum.

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guilty.” ECF 1376 at 3. To support this claim, Smith cites McGraw v. United States, No. 96-

6161, 1997 WL 34431 (4th Cir. 1997), and United States v. White, 366 F.3d 291 (4th Cir. 2010).

Both cases involved post-conviction petitioners who had received ineffective assistance with

respect to their guilty pleas.

         In McGraw, the defendant learned after pleading guilty that his attorney failed to

investigate a potential statute of limitations defense. McGraw, No. 96-6161, 1997 WL 34431 at

*1. Based on Hill v. Lockhart, 474 U.S. 52 (1985), the Fourth Circuit remanded the case so that

the defendant could withdraw his guilty plea. Id. at 2. The Court found that, “but for defense

counsel’s errors,” the defendant “would not have pled guilty and would have insisted on going to

trial.” Id. at 1.

         White involved a defendant who relied on oral assertions by the government and by his

attorney that the guilty plea he entered was conditional, and that he would be able to appeal his

conviction after pleading guilty. White, 366 F.3d at 292–93. However, the plea agreement did

not permit the appeal. Id. at 295. The Fourth Circuit remanded to the district court for an

evidentiary hearing (id. at 293) and stated, id. at 292–93:

         It is undisputed that the petitioner’s lawyer erroneously informed him that the
         guilty plea was conditional and that the petitioner would not have pleaded guilty
         absent this representation; moreover, the Government conceded, and the district
         court found, that in making this representation, the petitioner’s lawyer provided
         constitutionally ineffective assistance of counsel, which rendered the petitioner’s
         guilty plea involuntary.

         Here, Smith argues that both McGraw and White support his Petition, and that both cases

show that Judge Quarles failed to follow Fourth Circuit precedent in denying the Petition. ECF

1376 at 3–4. As Smith did in his Petition, he argues that his admissions in the guilty plea do not

“establish that he would not have proceeded to trial” if the alibi witnesses had been available. Id.

at 3.

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       The government contends that Smith’s reliance on McGraw and Smith is misplaced. ECF

1392 at 5–9. In particular, the government points to several factual discrepancies between

Smith’s allegations and those made by petitioners in both cases. For example, according to the

government, the petitioner in McGraw “does not appear to have been constrained by his own,

earlier sworn testimony.” ECF 1392 at 6. And, the government explains that in White, “the

claimant challenged the content of the very plea agreement at issue,” whereas Smith “does not

challenge the content of his plea agreement, which contains a factual stipulation contrary to his

current claim.” Id. at 7.

       Also, in response to Smith’s claim that it is “undisputed” that defense counsel failed to

investigate alibi witnesses, the government states, ECF 1392 at 4, n.1:

               The petitioner suggests in his motion to reconsider that it is “undisputed”
       that trial counsel failed to investigate the Frazier and Fleming testimony. ECF
       1376 at 3. To be clear, the government very much disputes that. The petitioner has
       the burden of proving both that he suffered deficient performance from his
       counsel, and that he was prejudiced as a result. See Strickland v. Washington, 466
       U.S. 668, 688 (1984). In effect, that means that Smith has the burden of proving
       that these “defenses” existed prior to his guilty plea and that his trial counsel
       failed to investigate them. The government’s position is simply that the petitioner
       cannot overcome his burden of proof through affidavits, including his own and his
       witnesses’, that contradict his sworn Rule 11 statements. Given the Fourth
       Circuit’s admonition that 2255 claims contradicting sworn Rule 11 statements are
       almost always “palpably incredible” and “patently frivolous and false,” Lemaster,
       403 F.3d at 221, this is simply not sufficient for the petitioner to prevail.

              Thus, the government does dispute every word of the petitioner’s
       “palpably incredible” and “patently frivolous and false” 2255 claims.

       In sum, the government avers: “The fact that Smith’s current 2255 claim rests on his

assertion of a factual defense and a claim of innocence cannot be reconciled with his sworn

admission of guilt when he entered his plea.” ECF 1392 at 8, Opposition.        According to the

government, “Smith has pointed to no extraordinary circumstances – either in his original motion




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or in his motion to reconsider - warranting disregarding his sworn statements, and White and

McGraw do not help him.” Id.

        Smith also argues that Judge Quarles’s decision pertaining to his counsel’s alleged

conflict of interest “works manifest injustice.” ECF 1376 at 3–4, Petition. According to Smith,

the Fourth Circuit has not opined on the question of law surrounding the discovery agreement

with the government. Id. at 4. According to Smith, a certificate of appealability should be

issued with respect to this claim because “there is no relevant authority that has decided this

issue.” Id. at 6.

        The government maintains that “petitioner has made absolutely no allegation as to how

he was prejudiced by the discovery agreement” and that he has “failed to make allegations even

close to sustaining a claim under Strickland.” ECF 1392 at 13, Opposition. Thus, according to

the government, Smith “cannot argue that he has made a substantial showing of the denial of a

constitutional right,” as required under 28 U.S.C. § 2253(c) for issuance of a certificate of

appealability.

        Finally, Smith maintains that Judge Quarles erred in his determination that Smith

qualified as a career offender. Id. at 5–6. He complains that the court counted as separate

offenses two convictions that were consolidated. To support this contention, Smith relies largely

on United States v. Davis, 720 F.3d 215 (4th Cir. 2013).

        In Davis, the defendant had previously “received one consolidated sentence for multiple

violations of [North Carolina] law.” Davis, 720 F.3d at 216. Although the district court counted the

defendant’s earlier state sentencing “as at least ‘two prior felony convictions’ and sentenced Davis

as a career offender”, the Fourth Circuit disagreed and found that “a consolidated sentence under

North Carolina law is a single sentence for purposes of the career offender enhancement.” Id.



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       Relying on Davis, Smith maintains that Judge Quarles committed “an error of law” by

considering a consolidated offense as two offenses. ECF 1376 at 6. Smith also contends that

Judge Quarles was incorrect in relying on Smith’s third and separate drug conviction to find that

Smith’s career offender status was valid, even if the two other drug convictions constituted only

one offense. According to Smith, this third conviction is irrelevant because it “resulted in a

suspended sentence.” ECF 1376 at 6.

       In opposing Smith’s contention, the government observes that the “presentence report

reflected two sentences, under two separate case numbers, with two separate judgments of

conviction (case numbers 202288035 and 202336015).” ECF 1392 at 15. The government also

asserts that Smith offered no evidence to suggest that his prior convictions were part of a

consolidated sentence like that at issue in Davis. Id. According to the government, although

Smith might have been sentenced “at the same time” for “a common occurrence under Maryland

law . . . the petitioner has provided no evidence that [the two offenses] were lumped together into

a single conviction, judgment or sentence.” Id. (emphasis in original).

       The government also notes that Davis was decided in 2013, four years after Smith was

sentenced by Judge Quarles. It states: “Smith cannot claim that his attorney was ineffective for

failing to anticipate a decision of the Fourth Circuit that came years after his sentence.” Id. at

15–16 (emphasis in original).

       In addition, the government maintains that, as to Smith’s third prior conviction, it is

irrelevant that it resulted in a suspended sentence because “[t]he Sentencing Guidelines make

clear that whether a ‘prior felony conviction’ qualifies as a career offender predicate is

determined by whether the prior offense was ‘punishable’ by imprisonment exceeding one year,

‘regardless of the actual sentence imposed.’” ECF 1392 at 16 (quoting U.S.S.G. § 4B1.2,

comment (n.1) and also citing United States v. Allen, 446 F.3d 522, 528–29 (4th Cir. 2006)).
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                                          III. Discussion

       The Federal Rules of Civil Procedure do not contain an express provision for a “motion

for reconsideration” of a final judgment. Katyle v. Penn Nat’l Gaming, Inc., 637 F.3d 462, 470

n.4 (4th Cir. 2011), cert. denied, 132 S. Ct. 115 (2011). But, to avoid elevating form over

substance, a motion to reconsider may be construed as a motion to alter or amend judgment

under Fed. R. Civ. P. 59(e), or a motion for relief from judgment under Fed. R. Civ. P. 60(b).

MLC Auto., LLC v. Town of S. Pines, 532 F.3d 269, 278–80 (4th Cir. 2008).6

       Fed. R. Civ. P. 59(e) is captioned “Motion to Alter or Amend a Judgment.” It states: “A

motion to alter or amend a judgment must be filed no later than 28 days after the entry of the

judgment.” A district court may amend a judgment under Rule 59(e), inter alia, to “prevent

manifest injustice.” Hutchinson v. Stanton, 994 F.2d 1076, 1081 (4th Cir. 2002).

       A motion filed outside the 28-day window set forth in Rule 59(e) is considered under

Rule 60, captioned “Relief from a Judgment or Order.” See In re Burnley, 988 F.2d 1, 2–4 (4th

Cir. 1992) (construing untimely Rule 59(e) motion as a Rule 60(b) motion). Fed. R. Civ. P.

60(b) sets forth a variety of grounds for relief from a final judgment or order.

       In particular, Rule 60(b) allows a party to obtain relief from a final judgment based on:

               (1) Mistake, inadvertence, surprise, or excusable neglect; (2) newly
       discovered evidence that, with reasonable diligence, could not have been
       discovered in time to move for a new trial under Rule 59(b); (3) fraud (whether
       previously called intrinsic or extrinsic), misrepresentation, or misconduct by an
       opposing party; (4) the judgment is void; (5) the judgment has been satisfied,
       released, or discharged; it is based on an earlier judgment that has been reversed
       or vacated; or applying it prospectively is no longer equitable; or (6) any other
       reason that justifies relief.



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        Pursuant to Local Rule 105.10, “any motion to reconsider . . . shall be filed with the
Clerk not later than fourteen (14) days after entry of the order,” except as otherwise provided
under Fed. R. Civ. P. 50, 52, 59, or 60.

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       A motion under Rule 60(b) must be filed “within a reasonable time.” And, if based on

(b)(1), (b)(2), or (b)(3), it must be made “no more than a year after the entry of the

judgment. . . .” Fed. R. Civ. P. 60(c)(1).

       The timing of the filing of the motion is the key factor in ascertaining which rule applies.

The Fourth Circuit has said that “a motion filed under both Rule 59(e) and Rule 60(b) should be

analyzed only under Rule 59(e) if it was filed no later than [28] days after entry of the adverse

judgment and seeks to correct that judgment.” Robinson v. Wix Filtration Corp. LLC, 599 F.3d

403, 412 (4th Cir. 2010) (citing Small v. Hunt, 98 F.3d 789, 797 (4th Cir. 1996)); see In re

Burnley, 988 F.2d at 2–3; Lewis v. McCabe, Weisberg & Conway, LLC, DKC 13-1561, 2015 WL

1522840, at *1 (D. Md. Apr. 1, 2015). Although Smith filed his motion for reconsideration

under Fed. R. Civ. P. 59(e) (ECF 1376 at 1, 2), the motion was filed on December 6, 2013 (ECF

1376), thirty-one days after the filing of Judge Quarles’s Memorandum Opinion and Order on

November 5, 2013. ECF 1370; ECF 1371.

       To be sure, Smith’s Certificate of Service is dated November 28, 2013. ECF 1376 at 7.

And, his Motion was postmarked December 3, 2015. Id. at 8. But, under Local Rule 112(g), the

date of docketing is the operative date from which to calculate the 28-day window.

       Local Rule 112(g) states:

               All court documents—other than the original petition or motion—filed by
       self-represented prisoners under 28 U.S.C. § 2241, 28 U.S.C. § 2254, or 28 U.S.C.
       § 2255 are deemed “filed electronically” for L.R. 102.1.c purposes at the time the
       documents are electronically docketed by the Clerk’s Office. For any response to
       a document filed electronically under this paragraph, any deadline for filing a
       response will be calculated from the date the document is electronically docketed
       by the Clerk’s Office.
       Smith’s Motion to Reconsider is not the “original petition or motion” under 28 U.S.C.

§ 2255. As a result, Local Rule 112(g) governs. Accordingly, Rule 60(b) applies here.




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        As discussed, Smith claims that Judge Quarles’s rulings were erroneous and that they

worked manifest injustice. ECF 1376 at 6. He largely reiterates arguments expressed in his

initial Petition: that his counsel failed to investigate alibi witnesses; that his attorney operated

under a conflict of interest; and that the court erred in determining that he is a career offender.

See ECF 1376 at 2–8. Given the nature of these arguments, and because plaintiff has not

asserted any argument to trigger application of Rule 60(b)(1), (b)(2), (b)(3), (b)(4), or (b)(5), the

Motion falls under Rule 60(b)(6), the provision permitting reconsideration for any “reason that

justifies relief.”

        Of import here, relief under Rule 60(b)(6) should be invoked only in “extraordinary

circumstances.” See Aikens v. Ingram, 652 F.3d 496, 500 (4th Cir. 2011); see also, e.g., Pacific

Ins. Co. v. Am. Nat'l Fire Ins. Co., 148 F.3d, 396 403 (4th Cir. 1998), cert. denied, 525 U.S. 1104

(1999) (stating that “reconsideration of a judgment after its entry is an extraordinary remedy

which should be used sparingly”) (citation omitted). Although Smith’s Motion provides new

discussion of case law to demonstrate that Judge Quarles erred in his rulings, his Motion does

little to present or even suggest that extraordinary circumstances exist to warrant reconsideration

of Judge Quarles’s thorough and careful ruling. Id. As discussed above, the fundamental issues

in Smith’s Motion (ECF 1376) are the same issues that Judge Quarles analyzed in depth when

reviewing the Petition (ECF 1370).

        Indeed, Smith has presented no compelling argument to suggest that the circumstances

have changed as to his alleged alibi witnesses. ECF 1376 at 2–4. Similarly, he has provided no

additional basis to show how the discovery agreement with the government presented a conflict

of interest or demonstrates prejudice. See id. at 4–5.

        Moreover, Smith’s PSR makes it clear that he was correctly sentenced as a career

offender.     Section 4B1.1 of the United States Sentencing Guidelines (“U.S.S.G.” or
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“Guidelines”) provides for an increase in the base offense level if a defendant is found to be a

“career offender.” To qualify as a career offender, the offense of conviction must be either a

felony crime of violence or a felony controlled substance offense, the defendant was at least

eighteen years old when he/she committed the offense, and the defendant must have “at least two

prior felony convictions of either a crime of violence or a controlled substance offense.”

U.S.S.G. § 4B1.1(a).

       Section 4B1.2(b) of the Guidelines defines “controlled substance offense.” It states:

       The term “controlled substance offense” means an offense under federal or state
       law, punishable by imprisonment for a term exceeding one year, that prohibits the
       manufacture, import, export, distribution, or dispensing of a controlled substance
       (or a counterfeit substance) or the possession of a controlled substance (or a
       counterfeit substance) with intent to manufacture, import, export, distribute, or
       dispense.

       According to Judge Quarles’s Memorandum Opinion (ECF 1370), the court relied on two

prior felony controlled substance (“CDS”) offenses in finding that Smith was a career offender.

The first case, No. 202288035, in the Circuit Court for Baltimore City, was based on an arrest on

September 4, 2002 (PSR, ¶ 50), in connection with illegal conduct on September 3, 2002. Id.

¶ 51. It resulted in a conviction for possession with intent to distribute CDS. Id. ¶ 50. Smith

was sentenced on April 28, 2003, to a term of three years’ incarceration. Id. The second case,

No. 202336015, also in the Circuit Court for Baltimore City, was based on an arrest on October

5, 2002. (PSR, ¶ 52), arising from the execution of a search and seizure warrant on September

11, 2002. Id. ¶ 53. It resulted in a conviction for possession with intent to distribute cocaine. Id.

¶ 52. The defendant was sentenced to three years’ incarceration on April 28, 2003. Id.

       Notably, the Addendum to the PSR sets out the objections made by defense counsel to

the PSR, along with the determinations reached by the probation officer as to those objections.

See PSR Addendum.        The Addendum states that defense counsel “indicated that there is an

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objection as to the criminal history scoring regarding cases 202288035 and 202336015” and that

defense counsel argued there was no intervening arrest regarding the two charges. Addendum at

2. After reviewing the timing of the charges, the probation officer noted that the “cases are

separate and distinct from one another and are to be counted separately.” Id.

       Moreover, Judge Quarles considered another felony drug offense for the purpose of

U.S.S.G. § 4B1.1(a). See PSR, ¶ 46. The PSR reflects that defendant was arrested on January

13, 2002, for unlawful manufacture of CDS, for which the defendant received a four year

sentence on August 23, 2002, most of which was suspended. Id. But, as the government points

out, it is irrelevant whether the sentence for this third conviction was suspended because

assessing a prior conviction for career offender purposes does not turn on the actual outcome of a

defendant’s sentencing, but instead turns on the maximum sentence that, by law, could have been

imposed. Cf. United States v. Powell, 691 F.3d 554, 556 (4th Cir. 2012).

       Accordingly, having reviewed Judge Quarles’s Memorandum Opinion and Smith’s

Motion, I find no indication that reconsideration is required to “prevent manifest injustice.”

Hutchinson, 994 F.2d at 1081.

                                            IV. Conclusion

       For the foregoing reasons, I shall deny Smith’s Motion to the Reconsider. ECF 1376. I

shall also deny as moot the government’s motion to allow disclosure of defendant’s attorney-

client communications and defense counsel’s work product (ECF 1401). See ECF 1401, ¶ 3.

       A separate Order follows, consistent with this Memorandum.

Date: April 4, 2016                                        /s/
                                                    Ellen Lipton Hollander
                                                    United States District Judge




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